Case 4:23-cr-00241-SJM Document 48 Filed in USDC ND/OK on 10/30/23 Page 1 of 5
Case 4:23-cr-00241-SJM Document 48 Filed in USDC ND/OK on 10/30/23 Page 2 of 5
Case 4:23-cr-00241-SJM Document 48 Filed in USDC ND/OK on 10/30/23 Page 3 of 5
Case 4:23-cr-00241-SJM Document 48 Filed in USDC ND/OK on 10/30/23 Page 4 of 5
Case 4:23-cr-00241-SJM Document 48 Filed in USDC ND/OK on 10/30/23 Page 5 of 5
